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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                                    No. CR 16-00440 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                         ORDER GRANTING MOTION
                                                                         13                                                                FOR MENTAL COMPETENCY
                                                                              YEVGENIY ALEKSANDROVICH                                      HEARING AND
                                                                         14   NIKULIN,                                                     PSYCHIATRIC EVALUATION

                                                                         15                  Defendant.
                                                                                                                         /
                                                                         16
                                                                         17          Defendant Nikulin’s motion for a hearing to determine his competency to stand trial

                                                                         18   pursuant to Section 4241 of Title 18 of the United States Code is GRANTED. Based on the

                                                                         19   record herein — including defense counsel’s declaration and the United States Marshals

                                                                         20   Service’s representations regarding Nikulin’s in-custody behavior — the Court finds that there

                                                                         21   is reasonable cause to believe that defendant Nikulin “may presently be suffering from a mental

                                                                         22   disease or defect rendering him mentally incompetent to the extent that he is unable to

                                                                         23   understand the nature and consequences of the proceedings against him or to assist properly in

                                                                         24   his defense.” 18 U.S.C. § 4241(a).

                                                                         25          Dr. Alexander Grinberg is hereby appointed to conduct an examination of defendant

                                                                         26   Nikulin and determine Nikulin’s mental competency pursuant to 18 U.S.C. § 4241(b). The

                                                                         27   psychiatric report shall be filed with the Court and copies shall be provided to defense counsel

                                                                         28   and counsel for the government. 18 U.S.C. § 4247(c). The psychiatric report shall include the
                                                                              following information as required by 18 U.S.C. § 4247(c):
                                                                                Case 3:16-cr-00440-WHA Document 60 Filed 09/04/18 Page 2 of 2



                                                                          1          (1)    the defendant’s history and present symptoms;
                                                                          2          (2)    a description of the psychiatric, psychological, and medical tests that were
                                                                          3                 employed, and their results;
                                                                          4          (3)    the examiner’s findings; and
                                                                          5          (4)    the examiner’s opinions as to diagnosis, prognosis, and whether the defendant is
                                                                          6                 suffering from a mental disease or defect rendering him mentally incompetent to
                                                                          7                 the extent that he is unable to understand the nature and consequences of the
                                                                          8                 proceedings against him or to assist properly in his defense.
                                                                          9          A hearing to determine the mental competency of defendant Nikulin will be held on
                                                                         10   OCTOBER 9, 2018, AT 2:00 P.M. The examiner’s report shall be provided to the Court by
                                                                         11   OCTOBER 5 AT NOON.
United States District Court
                               For the Northern District of California




                                                                         12
                                                                         13          IT IS SO ORDERED.
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                                                                         15   Dated: September 4, 2018.
                                                                                                                                      WILLIAM ALSUP
                                                                         16                                                           UNITED STATES DISTRICT JUDGE
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